          Case 3:18-cv-01437-ADC Document 25 Filed 03/14/19 Page 1 of 2



                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



  LUIS SANCHEZ BETANCES, et al.,

         Plaintiffs,

        v.
                                                        Civil No. 18-1437 (ADC)
  ASPEN AMERICAN INSURANCE
  COMPANY, et al.,

        Defendants.



                                             ORDER

      Before the Court is a partial motion to dismiss filed by defendants Aspen American

Insurance Company and Osvaldo Carlo Linares (“defendants”). ECF No. 8. Plaintiffs Luis

Sanchez-Betances and Antillana, LLC timely opposed the motion. ECF No. 11. Defendants filed

a surreply with leave of the Court. ECF Nos. 17, 18. The Court then referred the partial motion

to dismiss to Magistrate Judge Bruce J. McGiverin for a Report and Recommendation (“R&R”).

ECF No. 20. Magistrate Judge McGiverin issued an R&R recommending granting defendants’

motion. ECF No. 22. The R&R indicated that the parties had fourteen days to file an opposition

thereto. ECF No. 22. That deadline expired on February 7, 2019, without opposition. The R&R

is now ripe for the Court’s consideration.

      After carefully reviewing the filings and the R&R, the Court hereby ADOPTS the R&R

in full. For the reasons explained in the R&R, defendants’ partial motion to dismiss plaintiffs’
          Case 3:18-cv-01437-ADC Document 25 Filed 03/14/19 Page 2 of 2
Civil No. 18-1437 (ADC)                                                                 Page 2


negligence claims for depreciation/ loss of market value and loss of enjoyment under P.R. Laws

Ann., tit. 31, § 5141 (“Article 1802”), is GRANTED. ECF No. 18. See ECF No. 1 at 17–18.

      All parties shall inform the Court within 20 days of the date of this order whether the

consent to the trial jurisdiction of a Magistrate Judge. Within the same time, the parties shall

submit a joint proposed scheduling memorandum for the case.

      SO ORDERED.

      At San Juan, Puerto Rico, on this 13th day of March, 2019.

                                                 S/AIDA M. DELGADO-COLÓN
                                                 United States District Judge
